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                            EXHIBIT B
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Alex Kaufman
Partner
Fox Rothschild LLP
999 Peachtree Street NE
Suite 1500
Atlanta, GA 30309
(404) 870-3769 – direct

(404) 964-5587 - cell
(404) 962-1200 - fax
AKaufman@fo rothschild.com
www.foxrothschild.com




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